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LF-97A (rev. 12/1/15)

United States Bankruptcy Court
Southern District of Florida
www. fisb.uscourts.gov
Division: Miami
Case Number: 14-17219-RAM
Chapter: 13

In re:

Name of Debtor(s): Jorge A Losada and Maria A Losada
JoRE h. Losaxh fr® nhrih A. Lospah /

DEBTOR'S CERTIFICATE OF COMPLIANCE,
MOTION FOR ISSUANCE OF DISCHARGE AND
NOTICE OF DEADLINE TO OBJECT

NOTICE OF TIME TO OBJECT

Any interested party who fails to file and serve a written response to this motion within 21 days
after the date of service of this motion shall, pursuant to Local Rules 4004-3(A)(3) and 901 3-1(D),
be deemed to have consented to the entry of an order of discharge.

The sce 6! Qe \ Los ADP Hove LOS#DA-

, in the above captioned
matter certifies as follows: |

1. Theshe ter 13 trustee has issued a Notice of Completion of Plan Payments on
. The debtor is requesting the court issue a discharge in this case.
2. The debtor has completed an instructional course concerning personal financial management

dese ed j U.S.¢. §111 and proof of completion of the course was filed with the court on
Sslos"

3. Compliance with 11 U.S.C. §101(14A):

A. The debtor has not been required by a judicial or administrative order, or by statute
to pay any domestic support obligation as defined in 11 U.S.C. §101(14A) either
before this bankruptcy was filed or at any time after the filing of this bankruptcy,

OR

* All further references to “debtor” shall include and refer to both of the debtors in a case filed jointly by two individuals, unless an y information is
noted as specifically applying to only one debtor.
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B. The debtor certifies that as of the date of this certification, the debtor has paid all
amounts due under any and all domestic support obligations as defined in 11 U.S.C.
§101(14A), required by a judicial or administrative order or by statute, including
amounts due before, during and after this case was filed. The name and address of
each holder of a domestic support obligation is as follows:

 

 

 

 

4. The debtor's most recent address is as follows: [Note: Providing an updated debtor address
here constitutes a change of address pursuant to Local Rule 2002-1(G). No separate Notice of
Change of Address is required to be filed.]

 

 

 

5. The name and address of the debtor's most recent employer is as follows:

 

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6. The following creditors hold a claim that is not discharged under 11 U.S.C. §523(a)(2) or (a)(4)
or a claim that was reaffirmed under 11 U.S.C. §524(c):

 

 

7. Compliance with 11 U.S.C. §1328(h):

Ky. The debtor has not claimed an exemption under §522(b)(3) in an amount in excess
of $155,675" in property of the kind described in §522(q)(1) [generally the debtor's
omestead];

OR

B. The debtor has claimed an exemption under §522(b)(3) in an amount in excess of
$155,675" in property of the kind described in §522(q)(1) but there is no pending _
proceeding in which the debtor may be found guilty of a felony of a kind described in
§522(q)(1)(A) or found liable for a debt of the kind described in §522(q)(1)(B).

* Amounts are subject to adjustment on 4/01/16, and every 3 years thereafter with respect to cases commenced on or after the date of adjustment.
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8. The debtor has not received a discharge in a case filed under chapter 7, 11, or 12 during the 4
year period preceding the filing of the instant case or in a case filed under chapter 13 during the
2 year period preceding the filing of the instant case.

| declare under penalty of perjury that the information provided in this Certificate is true and correct.

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Debtor, Jorge/A Losada

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Joint Debtor, Maria A Losada

 

CERTIFICATE OF SERVICE

Attach or file separately a Local Rule 2002-1(F) certificate of service reflecting manner and date of service
on parties in interest.

If the Debtor is appearing pro-se, the clerk's office will serve this Certificate and Motion.
